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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

   BRIAN GALLANT, individually and on behalf of all                         CLASS ACTION
   others similarly situated,
                                                                     Case No. 1:22-cv-21714-CMA
         Plaintiff,
                                                                      JURY TRIAL DEMANDED
   vs.

   TD BANK, N.A., et al.,

     Defendants.
   ______________________________________/

                           NOTICE OF DISMISSAL WITHOUT PREJUDICE

             Plaintiff, Brian Gallant, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), does

  hereby dismiss this action as follows:

             1.       All claims of the Plaintiff, Brian Gallant, individually, are hereby dismissed without

  prejudice.

             2.       All claims of any unnamed member of the alleged class are hereby dismissed

  without prejudice.



  Date: August 29, 2022

  Respectfully Submitted,

  Shamis & Gentile, P.A.
  /s/ Andrew J. Shamis
  Andrew J. Shamis, Esq.
  Florida Bar No. 101754
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  Counsel for Plaintiff and the Class
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                                     CERTIFICATE OF SERVICE

          I hereby certify that on August 29, 2022, I electronically filed the foregoing document
   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
   served this day on all counsel identified below via transmission of Notices of Electronic Filing
   generated by CM/ECF or in some other authorized manner.

   Respectfully submitted,
                                                SHAMIS & GENTILE, P.A.
                                                14 NE 1st Ave., Suite 705
                                                Miami, FL 33132
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                                        By:      /s/ Andrew J. Shamis
                                                 Andrew J. Shamis, Esq.
                                                 Florida Bar # 101754


                                                Counsel for Plaintiff and the Class
